
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Appellant (Thomas Ross) on the 21st day of February 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendants, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 10th day of April 2008."
Upon consideration of the petition filed on the 21st day of February 2008 by Appellant (Thomas Ross) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
